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                   IN THE UNITED STATES DISTRICT COURT
                  FOR THE EASTERN DISTRICT OF MICHIGAN
                            SOUTHERN DIVISION


Cynthia Applebaum, Warren Black,
Anita Matlock, Patrick Ridgeway, and
William Sly, individually and on behalf
of all others similarly situated,
                                                Case No. 2:14-cv-13005-AC-MKM
             Plaintiffs,                        Hon. Avern Cohn
vs.


MGM Grand Detroit, LLC.,

              Defendant.
_______________________________________________________________________________________/

  JOINT MOTION IN SUPPORT OF APPROVAL OF SETTLEMENT OF
     COLLECTIVE ACTION UNDER THE FLSA, CERTIFYING THE
  COLLECTIVE FOR PURPOSES OF SETTLEMENT, AND DIRECTING
                 NOTICE TO THE COLLECTIVE


       Plaintiffs, by and through their undersigned counsel, individually

 and on behalf of all others similarly situated, move for an order granting

 approval to the class action settlement described in the Joint Stipulation

 Of Settlement and Release, attached hereto as Exhibit 1 (hereinafter

 referred to as       "Joint Stipulation"), as supported by the attached

 Memorandum of Law and Class                  Counsel's Declaration, and further

 determining that:



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      1.    The terms and conditions of the proposed settlement between

the Plaintiff Class   and Defendant defined and described in the Joint

Stipulation of Settlement and Release and Exhibits are fair, reasonable, and

adequate.

      2.    That the form of the Notice of Settlement and the method of

disseminating the Notice to the Collective, as described in the Joint Stipulation

and Exhibits thereto is fair, reasonable and adequate to the Collective.

      3.    That the method of allocating a settlement award to each member

of the Settlement Class is fair, reasonable and adequate.

      4.    That Class Representatives, Class Deponents and Class Participants

defined in paragraph 12(g) should be awarded service awards for their time,

effort and risks undertaken to represent the class and to secure the benefits for

the entire class under the settlement.

      5.    That Class Counsel should be awarded the stated amount of fees

and costs described in paragraph 14 of the Joint Stipulation of Settlement and

Release, as fair and reasonable attorneys’ fees and costs, payable by Defendant,

as compensation for their time, efforts, risks and expense in representing the

Collective on a contingent basis and for securing the pool of benefits for the

entire Collective under the Settlement;

      6.    That any objections to the settlement as outlined within the Joint


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Stipulation to the extent any exist, are without basis, and are not well founded,

and should be overruled in their entirety;

      7.    For any other relief that is just and equitable in the circumstances.

      8.    Defendant consents to the relief requested herein.

      9.    This motion is based upon the court files, memoranda, and

affidavits to be submitted and arguments of counsel.



By: /s/ Megan A. Bonanni P52079            By: Elayna J. Youchah w/consent
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Attorneys for Plaintiffs                   Attorneys for Defendant


Dated: April 13, 2016




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                   IN THE UNITED STATES DISTRICT COURT
                  FOR THE EASTERN DISTRICT OF MICHIGAN
                            SOUTHERN DIVISION


Cynthia Applebaum, Warren Black,
Anita Matlock, Patrick Ridgeway, and
William Sly, individually and on behalf
of all others similarly situated,
                                                Case No. 2:14-cv-13005-AC-MKM
             Plaintiffs,                        Hon. Avern Cohn
vs.


MGM Grand Detroit, LLC.,

              Defendant.
_______________________________________________________________________________________/


BRIEF IN SUPPORT OF APPROVAL OF SETTLEMENT OF COLLECTIVE
  ACTION UNDER THE FLSA, CERTIFYING THE COLLECTIVE FOR
  PURPOSES OF SETTLEMENT, AND DIRECTING NOTICE TO THE
                        COLLECTIVE

                              I.     INTRODUCTION

1.    This is a suit for alleged violation of the Fair Labor Standards Act

(“FLSA”). Although Defendant denies any and all liability, the parties have

agreed to a settlement, the terms of which are defined and described in the

Joint Stipulation and Exhibits.

      Following an extensive investigation, partially-completed formal

discovery and extensive arm’s-length negotiations, Plaintiffs, individually


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and on behalf of all others similarly situated, and Defendant MGM Grand

Detroit has agreed, subject to Court approval, to resolve this wage and

hour lawsuit on a collective-wide basis for significant monetary relief. The

settlement satisfies the criteria for approval of a Fair Labor Standards Act

(“FLSA”) collective action settlement because it resolves a bona-fide

dispute, was reached after contested litigation, and was the result of

arm’s-length settlement negotiations conducted by counsel well-versed in

wage and hour law.

     Accordingly, Plaintiffs respectfully request that the Court issue an

order: (1) approving the $450,000 settlement as set forth in paragraph

12(c) of the Joint Stipulation of Settlement and Release (“Joint

Stipulation”) attached as Exhibit 1; approving the proposed Notice of

Settlement (“Notices”) (attached as Exhibits 1(a) and 1(b) and Claim and

Consent Form (attached as 1(c)) and direct their distribution; approving

service awards of $7,500 each to the Class Representatives, $5,000 to the

Class Deponents and $3,500 to the Class Participants as defined in

paragraph 12(g) of the Joint Stipulation; approving Plaintiffs’ request for

one-third of the settlement fund for attorneys’ fees and an additional

reimbursement of costs and litigation expenses; and incorporating the

terms of the Settlement Agreement.


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                          II.    PERTINENT FACTS

      This matter was originally filed on August 1, 2014. (Dkt. 1) The

Complaint sets forth a detailed recitation of factual and legal allegations

pertaining to FLSA claims and the basis for collective action certification

under Section 216(b). There are 5 named Plaintiffs. Throughout the course

of this litigation, 32 other individuals opted in to the litigation.

      Prior to engaging in full-blown merits discovery, counsel for the

respective parties began discussing the merits of the case and certification

difficulties for each side. The Parties agreed to exchange extensive

discovery documents and submitted the case to facilitation with a nationally

recognized FLSA facilitator. While the initial facilitation did not resolve the

matter, it did succeed at narrowing the issues for litigation.

      The parties thereafter engaged in discovery.           Defendant took the

depositions of 11 Plaintiffs. The parties also exchanged relevant documents,

including providing answers to multiple sets of interrogatories and

documents responsive to numerous requests for the production of

documents. Defendant produced payroll data as well as numerous policies

and other relevant company documents. The parties continued to engage in

settlement discussions throughout discovery.

      After a full review of this information and open and full debate over

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the legal and factual issues, the Parties, who have been represented by

counsel at all times, agreed that the negotiated terms of the settlement

represent a fair, reasonable, and just compromise of disputed issues.

      After the general terms of the settlement were reached, the Parties

began the process of drafting comprehensive settlement agreements that

would be entered into between each of the named and opt-in Plaintiffs and

the Defendant. With compromise from both sides, the settlement

agreements now before the Court for approval were reached.

      The negotiations leading to this settlement were adversarial, non-

collusive, and conducted at arms’ length. The Parties share an interest in fully

and finally resolving the issues raised in this action. Because the Parties

recognized the expense and risks associated with prosecution and defense

through trial and any possible appeal, as well as the risk of uncertainty of

the outcome inherent in any litigation, they agreed to be bound by the

settlement agreements which they now ask this Court to approve. The

Parties have conditioned the overall settlement agreements upon the

Court’s approval of all their terms.

             III.   SUMMARY OF THE SETTLEMENT TERMS

     A.    Stipulation to Class Certification

     Solely for the purpose of settling this case, the Parties stipulate and

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agree that the requisites for establishing class certification with respect

to the Settlement Class have been and are met.

     B.    The Settlement Fund

     The Joint Stipulation of Settlement and Release establishes a

maximum settlement fund of $450,000 to settle claims against Defendant

(the “Fund”). The Fund covers Eligible Settlement Class Members’ awards,

any Court-approved service awards to Plaintiffs and Opt-In Plaintiffs, any

Court-approved attorneys’ fees and costs, and the settlement claims

administrator’s (“Settlement Administrator’s”) fees and costs.

     C.    Eligible Employees

     Eligible Settlement Class Members are any and all current and

former Floor Supervisors and Assistant Floor Supervisors employed by

Defendant at any time during the class period. Within 10 days of the

Court’s approval of the settlement, Defendant will provide the Settlement

Administrator with the last known contact information for all eligible

Settlement Class Members. (Exhibit 1, ¶ 13) The Proposed Notice alerts

eligible Settlement Class Members to the terms of the settlement, their

individual estimated settlement allocation, the scope of the release, and

also informs them that they are required to properly complete and timely

return the Claim and Consent Form attached thereto if they wish to be


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included in the settlement and receive payment. See Exhibit 2 (Proposed

Notice), Class members will have 30 calendar days from the mailing date

of the Notice within which to postmark their Claim and Consent Form. (Id

¶ 12(i)).

      D.    Release

      A failure to submit a valid and timely Claim and Consent Form does

not affect exclusion from the Settlement Class. Instead, all Class Members

shall remain members of the Settlement Class and will be bound by all

terms of the Settlement and any Final Order and Judgment entered by the

Court unless they have excluded themselves from the Settlement Class in

the manner provided in the Joint Stipulation of Settlement and Release. Id

¶ 12(i).

      E.    Allocation Formula

     Eligible Settlement Class Members will be eligible for a settlement

payment pursuant to an allocation formula based on the number of shifts

they worked during the relevant period. Id.¶ 12(d). The total settlement

amount was attained by determining the total number of shifts worked by the

Settlement Class over the Class Period. Each Settlement Class Member will

receive a proportionate amount of the funds available to be distributed to the

Settlement Class based on the percentage of shifts each worked as compared


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with the total amount of shifts worked by the entire Settlement Class. Based on

this formula, because there were 82,710 shifts worked by the Settlement Class

over the Class Period, each Authorized Class Member will receive

approximately $1.63 per shift. Id. Each Settlement Class Members’ payment

from the Net Settlement Amount and will be allocated and paid as follows: one-

third of his/her Settlement Award will be allocated to alleged unpaid wages for

which IRS Forms W-2 will issue, one-third of his/her Settlement Award will be

allocated to alleged unpaid penalties, and the other one-third of his/her

Settlement Award will be allocated to alleged unpaid interest. The unpaid

penalties and unpaid interest will be reported on IRS Forms 1099-MISC will

issue. Id ¶ 12(e).

      F.       Service Awards

      The Settlement Agreement provides that, with Court approval, the

Class Representatives, Class Deponents and Class Participants will receive

service awards ranging from $3,500- $7,500 in recognition of their

assistance rendered in obtaining the benefits of the settlement for the

Collective as well as the risks they took to do so. Id. ¶ 12(g). As set forth

in the Joint Stipulation, Class Representative, Class Deponents and Class

Participants assisted counsel in the investigation of Plaintiffs’ claims,

produced documents in response to Defendant’s document requests,


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attended meetings, and provided information.              Additionally, Class

Representatives and Class Deponents worked with Plaintiffs’ Counsel to

prepare for their depositions and sat for full-day depositions. Id ¶ 12(g).

      G.    Settlement Claims Administration

      The parties have retained a wage and hour claims administrator, to

serve as the Settlement Administrator. The Settlement Administrator’s

fees of $7,500 will be paid from the Settlement Fund. Exhibit 1(Joint

Stipulation) ¶ 11.

      H.    Attorneys’ Fees and Litigation Costs

      Subject to Court approval, Plaintiffs’ Counsel will receive $150,000

(one-third of the settlement fund of $450,000) as attorneys’ fees and

reimbursement of actual reasonable out-of-pocket costs and expenses. Id.

¶ 14. As part of the Settlement, Defendant has agreed not to object to an

award for fees and costs up to this amount.

                              IV.   ARGUMENT

      2.    A.    Standard of Review

       As a general rule, “court approval is required for the settlement of

 claims for back wages or liquidated damages under the FLSA.” Arrington v.

 Mich. Bell Tel. Co., 2012 U.S. Dist. LEXIS 157362, *1 (E.D. Mich. Nov. 2, 2012)

 (J. Lawson) (citing Lynn's Food Stores, Inc. v. United States, 679 F.2d 1350,

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 1354 (11th Cir. 1982). Therefore, “[w]hen employees bring a private action

 for back wages under the FLSA, and present to the district court a proposed

 settlement, the district court may enter a stipulated judgment after

 scrutinizing the settlement for fairness. If the settlement is a reasonable

 compromise over issues that are actually in dispute, the Court may approve

 the settlement in order to promote the policy of encouraging settlement of

 litigation.” Arrington, 2012 U.S. Dist. LEXIS 157362, *2 (internal citations and

 quotations omitted); Lynn's Food Stores, Inc. v. United States, 679 F.2d at

 1354.

         Courts often draw on Rule 23 case law to guide them in reviewing and

 approving FLSA settlements. The Sixth Circuit has identified seven factors

 that should aid courts in the determination of whether a proposed FLSA

 settlement is fair, reasonable, and adequate:

               1. (1) the risk of fraud or collusion; (2) the complexity,
                expense, and likely duration of the litigation; (3) the
                amount of discovery engaged in by the parties; (4) the
                likelihood of success on the merits; (5) the opinions of
                class counsel and class representatives; (6) the
                reaction of absent class members; and (7) the public
                interest.

 Arrington, 2012 U.S. Dist. LEXIS 157362, *2-3; see also Crawford v.

 Lexington-Fayette Urban Cnty. Gov't, CIV. A. 06-299-JBC, 2008 WL 4724499,

 at *3 (E.D. Ky. Oct. 23, 2008) (citing Int'l Union, United Auto., Aerospace, and


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 Agr. Implement Workers of Am. v. Gen. Motors Corp., 497 F.3d 615, 631 (6th

 Cir. 2007). The above list is not exhaustive and courts do not necessarily

 apply all of the factors; rather, the factors are guideposts used to determine

 the fairness of a proposed settlement. “A court applying these factors must

 do so in the context of the actual settlement.” Arrington, 2012 U.S. Dist. LEXIS

 157362, *3.

            1.     The Absence of Fraud or Collusion in the Settlement

       In the instant case, there is a bona fide dispute over whether

 Defendant violated the FLSA.      Plaintiffs allege Defendant violated the

 FLSA because they failed to pay Plaintiffs overtime. Defendant denies all

 such claims.

       As is evident from the amount to be paid to Plaintiffs in this

 settlement, it is clear there was no fraud or collusion. The settlement will

 provide Settlement Class Members with substantial awards and will

 eliminate the risks and costs both sides would bear if this litigation

 continued to resolution on the merits. The Parties exchanged hundreds of

 documents and other data to educate each other about their position. In

 agreeing upon the proposed settlement, the Parties had sufficient

 information and conducted an adequate investigation to allow them to make

 an educated and informed analysis and conclusion.

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            2.    Complexity, Expense, and Likely Duration of the
                  Litigation

       The complexity, expense, and length of continued litigation militate in

 favor of this settlement. Both sides acknowledge that the Parties’ respective

 positions were substantially complicated and uncertain due to numerous

 factual disputes and legal theories. Should this case continue, the Court will

 be required to rule on pre-discovery motions such as whether Defendant is

 entitled to credit for breaks, including meal breaks.

       On the other hand, if Plaintiffs ultimately prevailed at trial, Defendant

 would be faced with the prospect of a verdict against it and the obligation

 to pay Plaintiffs’ attorneys’ fees and costs anticipated to be in excess of

 $600,000. If Defendant ultimately prevailed, Plaintiffs face dismissal of their

 claims and no recovery.

       In light of the foregoing, the Parties agree that either outcome is

 possible in this litigation. For these reasons, this settlement is a reasonable

 means for the Parties to minimize future risks and litigation costs.

            3.    Amount of Discovery Engaged In By the Parties

       Formal discovery took place over the course of several months. The

 parties exchanged numerous documents and other data relevant to

 Defendant’s pay practices, payroll records and policies. All Plaintiffs


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 provided Defendant with answers and documents in response to extensive

 Interrogatories and Requests for the Production of Documents. Each party

 spent considerable time and effort in the compilation of damage

 assessments for each Plaintiff, which required an analysis of company data

 related to hours worked as well as determining the proper formula for

 overtime calculation to apply and further to assess whether there were any

 appropriate credits that should be applied which would have the effect of

 offsetting any overtime that may be due any Settlement Class Member. For

 this reason, the Parties had several meetings specifically related to what

 assumptions should be made with regard to the calculation of overtime. The

 Parties reviewed this information, shared it with their respective clients,

 had discussions about it, and ultimately used it to evaluate the merits of their

 respective claims and defenses. One of the driving factors in this settlement

 was the desire to settle the case prior to incurring f u r t h e r extensive

 attorneys’ fees and costs associated with continuing with formal discovery

 and motion practice.

            4.    The Likelihood of Success on the Merits

       Plaintiffs’ likelihood of success on the merits and the amount they

 would be awarded is uncertain, further suggesting that this settlement is fair

 and appropriate. Plaintiffs assert, and Defendant denies, that they are owed

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 compensation due to Defendant’s alleged violations of the FLSA. The range

 of possible recovery by Plaintiffs is open to dispute. Even if Plaintiffs

 succeed on the merits of their claims, which would require substantial

 additional time and an exercise of resources by both Parties, the specific

 amount of their recovery is uncertain. Thus, this proposed settlement is a fair

 and reasonable settlement in relation to the potential risks and recovery in

 this case.

              5.   The Opinions of Class Counsel and the Class
                   Representatives

       There are 5 named Plaintiffs and 32 opt-in Plaintiffs in this litigation.

 Plaintiffs’ counsel has met with the named Plaintiffs and opt-in Plaintiffs

 wherein the specific terms of the settlement were discussed. Plaintiffs’

 counsel, the 5 named Plaintiffs and 32 opt-ins are of the opinion that this

 proposed settlement is a fair and reasonable compromise of this dispute.

 This constitutes approximately 30% of the Settlement Class.

              6.   The Public Interest

       The public interest is served by the proposed settlement as it serves

 the purpose and intent of Congress in enacting the FLSA—“to raise

 substandard wages and to give additional compensation for overtime work

 … thereby helping to protect this nation ‘from the evils and dangers


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    resulting from wages too low to buy the bare necessities of life and from

    long hours of work injurious to health.’” U.S. v. Rosenwasser, 323 U.S. 360, 361

    (1945)(quoting Sen. Rep. No. 884 (75th Conf., 1st Sess.)). The settlement also

    serves the purpose of ensuring “just, speedy, and inexpensive” resolution of

    this action. Fed R. Civ. Pro.1.

         B.    The Settlement Is Fair and Reasonable and Should Be
               Approved

         Courts approve FLSA settlements when they are reached as a result

of contested litigation to resolve bona fide disputes. See Lynn’s Food Stores,

Inc. v. United States, 679 F.2d 1350, 1355 (11th Cir. 1982); Wade v. Werner

Trucking Co., No. 10 Civ. 270, 2014 WL 2535226, at *1 (S.D. Ohio June 5,

2014); Bartlow v. Grand Crowne Resorts of Pigeon Forge, No. 11 Civ. 400,

2012 WL 6707008, at *1-2 (E.D. Tenn. Dec. 26, 2012). 1

         Collective actions under Section 216(b) of the FLSA require workers



1“Typically, courts regard the adversarial nature of a litigated FLSA case
to be an adequate indicator of the fairness of the settlement.” Bozak v.
FedEx Ground Package Sys., Inc., No. 11 Civ. 738, 2014 WL 3778211, at *3
(D. Conn. July 31, 2014); Dixon v. Zabka, No. 11 Civ. 982, 2013 WL
2391473, at *2 (D. Conn. May 23, 2013). If the proposed settlement
reflects a reasonable compromise over contested issues, the court should
approve the settlement. Lynn’s Food Stores, 679 F.2d 1354; Gentrup v.
Renovo Servs., LLC, No. 07 Civ. 430, 2011 WL 2532922, at *2 (S.D. Ohio June
24, 2011); Crawford v. Lexington-Fayette Urban Cnty. Gov’t, No. 06 Civ. 299,
2008 WL 4724499.

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to affirmatively opt-in to the litigation, unlike in a Federal Rule of Civil

Procedure 23 Collective action. See Genesis Healthcare Corp. v. Symczyk,

133 S. Ct. 1523, 1529 (2013) (“Rule 23 actions are fundamentally different

from collective actions under the FLSA.”); O’Brien v. Ed Donnelly Enters.,

Inc., 575 F.3d 567, 584 (6th Cir. 2009) (“While Congress could have

imported the more stringent criteria for Collective certification under Fed.

R. Civ. P. 23, it has not done so in the FLSA.”); Pritchard v. Dent Wizard Int’l

Corp., 210 F.R.D. 591, 594 (S.D. Ohio 2002) (“[I]n an FLSA “opt-in”

collective action the requirements need not be strictly observed because

there are no absent Class Members for the court to protect.”). Because,

under the FLSA, “parties may elect to opt in but a failure to do so does not

prevent them from bringing their own suits at a later date,” McKenna v.

Champion Int’l Corp., 747 F.2d 1211, 1213 (8th Cir. 1984), abrogated by

Hoffman-La Roche Inc. v. Sperling, 493 U.S. 165 (1989), FLSA collective

actions do not implicate the same due process concerns as Rule 23 actions,

see Thompson v. Bruister & Assocs., Inc., 967 F. Supp. 2d 1204, 1222 (M.D.

Tenn. Aug. 23, 2013); Bozak, 2014 WL 3778211, at *3. Accordingly, the

exacting standards for approval of a Collective action settlement under

Rule 23 do not apply to an FLSA settlement under the collective action

provisions of 29 U.S.C. § 216(b) at *9 (E.D. Ky. Oct. 23, 2008).


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Furthermore, “settlement is the preferred means of resolving litigation.”

Crawford, 2008 WL 4724499, at *9 (FLSA collective action).

      The FLSA settlement in this case meets the standard for approval.

The settlement was the result of vigorously contested litigation with

substantial discovery, including depositions of all five Named and four

Opt-In Plaintiffs, extensive discovery and exchange of relevant data and

arm’s-length negotiations. Bonanni Declaration attached as Exhibit 2.

Recognizing the uncertain legal and factual issues involved, the parties

reached the settlement after private mediation before a nationally

recognized and experienced mediator. Exhibit 2 ¶ 21. At all times during

the settlement negotiation process, negotiations were conducted at arm’s-

length. Id. ¶ 34. The settlement amount is substantial in light of the

overtime actually worked by Floor and Assistant Floor Supervisors.

      The proposed allocation of the settlement is also reasonable. It

reflects the proportion of damages owed to each Eligible Settlement Class

Member based the number of overtime shifts he or she worked for

Defendant, which is a reasonable approximation of each Eligible

Settlement Class Member’s damages. Exhibit 1 ¶ 12(d); see Hens v.

Clientlogic Operating Corp., No. 05 Civ. 381S, 2010 WL 5490833, at *2

(W.D.N.Y. Dec. 21, 2010) (allocation formula based on each plaintiff’s


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length of service was equitable and reasonable); Crawford, 2008 WL

4724499, at *10 (approving allocation plan showing “that the plaintiffs

will receive compensation based on the character of their claims and the

amount of time they have been employed by the defendant”). Moreover,

“[t]he endorsement of the parties’ counsel is entitled to significant

weight.” UAW v. Gen. Motors Corp., No. 05 Civ. 73991, 2006 WL 891151, at

*18 (E.D. Mich. Mar. 31, 2006).

      The Court should also approve the Proposed Notices and the Claim

and Consent Form attached thereto. See Exhibits 1(a)-(c)(Proposed

Notice). The Proposed Notice sufficiently informs Eligible Settlement

Class Members of the terms of the settlement, including the allocation

formula, the estimated amount to which they are entitled, the opt-in

process, the scope of the release, and the request for attorneys’ fees and

costs. Id.; see also Wade, 2014 WL 2535226, at *1 (approving “Settlement

Notice and Option Form proposed by the Parties” as “fully and accurately

inform[ing] the FLSA Collective Class Members of all material elements of

the Litigation and the Agreement”); Gentrup, 2011 WL 2532922, at *3

(same); see also Bozak, 2014 WL 3778211, at *3 (approving FLSA notice

that provides “notice to the Eligible Settlement Class Members of the

terms of the Settlement and the options facing the Settlement Collective”).


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      C.    The Service Awards to the Named and Opt-In Plaintiffs
            Should Be Approved As Fair and Reasonable

      Plaintiffs’ request for approval of a service award of $7,500 each to

the Class Representatives $5,000 to the Class Deponents and $3,500 to

the Class Participants as defined in paragraph 12(g) of the Joint

Stipulation is fair and reasonable. “[C]lass representatives who have had

extensive involvement in a . . . litigation deserve compensation above and

beyond amounts to which they are entitled to by virtue of Class

Membership alone.” Dallas v. Alcatel-Lucent USA, Inc., No. 09 Civ. 14596,

2013 WL 2197624, at *10 (E.D. Mich. May 20, 2013); accord Date v. Sony

Elecs., Inc., No. 07 Civ. 15474, 2013 WL 3945981, at *13 (E.D. Mich. July

31, 2013) (awarding service award in common fund case for, inter alia,

Collective representative’s “responding to discovery and sitting for his

deposition”) (citation omitted); see also Griffin v. Flagstar Bancorp. Inc.,

No. 10 Civ. 10610, 2013 WL 6511860, at *9 (E.D. Mich. Dec. 12, 2013)

(stating that service “awards have been approved by the Sixth Circuit”); In

re Packaged Ice Antitrust Litig., No. 98 MDL 1952, 2012 WL 5493613, at *9

(E.D. Mich. Nov. 13, 2012).

      Courts acknowledge that named plaintiffs in collective actions play

a crucial role in bringing justice to those who would otherwise be hidden



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from judicial scrutiny. See, e.g., In re Packaged Ice Antitrust Litig., 2012 WL

5493613, at *9 (service awards are “well deserved” when Collective

representative spent “time and effort . . . all to the general benefit of the

Collective”) (citing In re Cardizem CD Antitrust Litig., 218 F.R.D. 508, 536

(E.D. Mich. Oct. 10, 2003) (service awards “deserve[d]” when named

plaintiffs “devoted a significant amount of time to the prosecution of this

matter for the benefit of absent Class Members”)); Aros v. United Rentals,

Inc., Nos. 10 Civ. 73, et al., 2012 WL 3060470, at *3 (D. Conn. July 26,

2012); Clark, 2010 WL 1948198, at *9; Parker v. Jekyll & Hyde Entm’t

Holdings, L.L.C., No. 08 Civ. 7670, 2010 WL 532960, at *1 (S.D.N.Y. Feb. 9,

2010) (“Enhancement awards for Collective representatives serve the

dual functions of recognizing the risks incurred by named plaintiffs and

compensating them for their additional efforts.”); Velez v. Majik Cleaning

Serv., No. 03 Civ. 8698, 2007 WL 7232783, at *7 (S.D.N.Y. June 25, 2007)

(“in employment litigation, the plaintiff is often a former or current

employee of the defendant, and thus, by lending his name to the litigation,

he has, for the benefit of the Collective as a whole, undertaken the risk of

adverse actions by the employer or co- workers”) (internal quotes and




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citation omitted); 2

      Incentive awards are within the discretion of the court. See Dallas,

2013 WL 2197624, at *10-11; Date, 2013 WL 3945981, at *13; see also

Frank v. Eastman Kodak Co., 228 F.R.D. 174, 187 (W.D.N.Y. 2005)

(“Incentive awards are not uncommon in Collective action cases and are

within the discretion of the court”; Incentive “awards are particularly

appropriate in the employment context.”).

      In examining the reasonableness of service awards to plaintiffs,

courts consider: (1) the actions they took to protect the interests of

Collective or collective action members, and whether those actions

resulted in substantial benefit to Collective or collective action members;

(2) the personal risk they incurred; and (3) the amount of time and effort

they spent in pursuing the litigation. See, e.g., Bert v. AK Steel Corp., No. 02

Civ. 467, 2008 WL 4693747, at *3 (S.D. Ohio Oct. 23, 2008); In re Skechers




2 See also Nantiya Ruan, Bringing Sense to Incentive Payments: An
Examination of Incentive Payments to Named Plaintiffs in Employment
Discrimination Collective Actions, 10 Emp. Rts. & Emp. Pol’y J. 395 (2006)
(discussing the importance of aggregation of claims in the prosecution of
civil and wage and hour rights); see also Hadix v. Johnson, 322 F.3d 895,
897 (6th Cir. 2003) (“[I]ncentive awards are efficacious ways of
encouraging members of a Collective to become Collective representatives
and rewarding individual efforts taken on behalf of the Collective.”).


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Toning Shoe Products Liab. Litig., Nos. 11 MD 2308, et al., 2013 WL

2010702, at *14 (W.D. Ky. May 13, 2013); see also Dallas, 2013 WL

2197624, at *10 (in common fund cases, Collective representatives

“deserve compensation above and beyond amounts to which they are

entitled to by virtue of Class Membership alone”); Lonardo v. Travelers

Indem. Co., 706 F. Supp. 2d 766, 787 (N.D. Ohio 2010) (same). Here,

Plaintiffs satisfy all three factors.

      First, the Class Representatives, Class Deponents and Class

Participants each took substantial actions to protect the interests of

potential collective action members, and those actions resulted in a

substantial benefit to those potential collective action members.         As

discussed in greater detail in paragraph 12(g) of the Joint Stipulation, each

participated in varying levels of substantial pre-suit investigation,

including mediation and strategy meetings, provided documents crucial

to establishing Plaintiffs’ claims and responded to Defendant’s discovery

requests. Class Representative and Deponents also prepared and sat for

full-day depositions. See Exhibit 2 ¶ 42-43; see also Date, 2013 WL

3945981, at *13 (awarding service award in common fund case for, inter

alia, Collective representative’s “responding to discovery and sitting for

his deposition”); Bert, 2008 WL 4693747, at *3 (substantially same); see


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also Frank, 228 F.R.D. at 187 (recognizing the important role that

Collective representatives play as the “primary source of information

concerning the claims[,]” including by responding to counsel’s questions

and reviewing documents). 3

      These actions have resulted in substantial benefit to the Collective,

leading to an overall gross recovery of $450,000 which results in an

estimated range of awards from $122 to $1,400 for Eligible Settlement

Collective. Exhibit 2 ¶ 39). see Johnson v. Midwest Logistics Sys., Ltd., No.

11 Civ. 1061, 2013 WL 2295880, at *5-6 (S.D. Ohio May 24, 2013) (in FCRA

case, approving service award of $12,500 for named plaintiff when other

Class Members recovery would range from $260 to $1,000, out of gross

settlement fund of $452,380).

      Second, Plaintiffs and Opt-In Plaintiffs undertook substantial direct

and indirect risk. The Named Plaintiffs agreed to bring the action in their

name, to draft and sign declarations on penalty of perjury, to be deposed,


3 See also Sewell, 2012 WL 1320124, at *14 (“[F]ormer employees [] fac[ed]
[sic] potential risks of being blacklisted as ‘problem’ employees.”); Guippone v.
BH S&B Holdings, No. 09 Civ. 1029, 2011 WL 5148650, at *7 (S.D.N.Y. Oct. 28,
2011) (“Today, the fact that a plaintiff has filed a federal lawsuit is searchable
on the internet and may become known to prospective employers when
evaluating the person.”); Parker, 2010 WL 532960, at *1 (“[F]ormer employees
put in jeopardy their ability to depend on the employer for references in
connection with future employment.”).

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and to testify if there was a trial. Exhibit 2 ¶ 42-43. Opt-In Plaintiffs

similarly agreed to be party plaintiffs in the case, to be deposed, and to

testify if there was a trial. Id. In so doing, Plaintiffs and Opt-In Plaintiffs

assumed the risk of retaliation and blacklisting, particularly as they are

still employed with Defendant. Id.; see Frank, 228 F.R.D. at 187 (Incentive

“awards are particularly appropriate in the employment context . . .

[where] the plaintiff is often a former or current employee of the

defendant, and thus, by lending his name to the litigation, he has, for the

benefit of the Collective as a whole, undertaken the risk of adverse actions

by the employer or co-workers”); see also Bozak, 2014 WL 3778211, at *5

(lead plaintiff “assumed risk of retaliation”); Silberblatt v. Morgan Stanley,

524 F. Supp. 2d 425, 435 (S.D.N.Y. 2007) (“A Collective representative who

has been exposed to a demonstrable risk of employer retaliation or whose

future employability has been impaired may be worthy of receiving an

additional payment, lest others be dissuaded.”); Velez, 2007 WL 7232783,

at *7 (observing that named plaintiffs “exposed themselves to the

prospect of having adverse actions taken against them by their former

employer and former co-workers”).4


4 Plaintiffs acknowledge that no adverse action was taken by Defendant
against any person arising out of their participation in this case. Even where

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      Third, Plaintiffs and Opt-In Plaintiffs spent a significant amount of

time and effort in pursing this litigation on behalf of the eligible

Settlement Class Members. This included the time and effort they

expended in pre-litigation assistance to Plaintiffs’ Counsel in investigating

the claims brought, the time and effort they spent in assist in the

preparation and review of the complaint, providing declarations in

support of Plaintiffs’ collective certification motion, responding to

Defendant’s document requests, and preparing and sitting for full-day

depositions. Exhibit 2 ¶ 42-43; Date, 2013 WL 3945981, at *13; Bert, 2008

WL 4693747, at *3.

      Additionally, the amount of the requested service awards is

reasonable and consistent with awards that have been granted in




there is not a record of actual retaliation, collective representatives merit
recognition for assuming the risk of retaliation for the sake of absent Class
Members. See Sewell v. Bovis Lend Lease, Inc., No. 09 Civ. 6548, 2012 WL
1320124, at *14 (S.D.N.Y. Apr. 16, 2012) (“Plaintiffs litigating cases in an
employment context face the risk of subjecting themselves to adverse
actions by their employer.”); Guippone, 2011 WL 5148650, at *7 (“Even
where there is not a record of actual retaliation, notoriety, or personal
difficulties, Collective representatives merit recognition for assuming the
risk of such for the sake of absent Class Members.”); Frank, 228 F.R.D. at
187-88 (“Although this Court has no reason to believe that Kodak has or
will take retaliatory action towards either Frank or any of the plaintiffs in
this case, the fear of adverse consequences or lost opportunities cannot be
dismissed as insincere or unfounded.”).

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employment Collective and collective actions in this Circuit. See, e.g.,

Swigart v. Fifth Third Bank, No. 11 Civ. 88, 2014 WL 3447947, at *7 (S.D.

Ohio July 11, 2014) (“The modest Collective representative award

requests of $10,000 to each of the two Collective Representatives have

been tailored to compensate each Collective Representative in proportion

to his or her time and effort in prosecuting the claims asserted in this

[FLSA] action.”); Bert, 2008 WL 4693747, at *1, *3 (finding service award

of $10,000 to five Collective representatives was “rather modest” and “fair

and reasonable” in employment discrimination case). In FLSA cases in this

Circuit and elsewhere, courts consistently approve service awards that

are larger than what Plaintiffs request here. 5

      D.    Attorneys’ Fees and Costs Should be Approved as Fair and
            Reasonable

5 See Swigart, 2014 WL 3447947, at *7 ($10,000); see also Toure v.
Amerigroup Corp., No. 10 Civ. 5391, 2012 WL 3240461, at *6 (E.D.N.Y. Aug.
6, 2012) (approving awards of $10,000 for each Collective
representative); Lovaglio v. W & E Hospitality, Inc., No. 10 Civ. 7351, 2012
WL 2775019, at *4 (S.D.N.Y. July 6, 2012) (approving service awards of
$10,000 for each named plaintiff); Alli v. Boston Mkt. Corp., No. 10 Civ.
00004, 2012 WL 1356478, at *3 (D. Conn. Apr. 17, 2012) (approving
service awards of $12,000 for named plaintiffs); Sewell, 2012 WL
1320124, at *14-15 (approving service payments of $10,000 and
$15,000); Willix v. Healthfirst, Inc., No. 07 Civ. 1143, 2011 WL 754862, at
*7 (E.D.N.Y. Feb. 18, 2011) (approving awards of $30,000, $15,000, and
$7,500 to Collective representatives and opt- ins); Khait v. Whirlpool Corp.,
No. 06 Civ. 6381, 2010 WL 2025106, at *9 (E.D.N.Y. Jan. 20, 2010)
(approving $15,000 and $10,000 to named plaintiffs).

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        The FLSA provides for reasonable attorneys’ fees and costs. See 29

U.S.C. § 216(b) (“The court in [an action to recover under FLSA] shall, in

addition to any judgment awarded to the plaintiff or plaintiffs, allow a

reasonable attorney’s fee to be paid by the defendant, and costs of the

action.”); accord United Slate, Tile & Composition Roofers, Damp &

Waterproof Workers Ass’n, Local 307 v. G & M Roofing & Sheet Metal Co.,

Inc., 732 F.2d 495, 501 (6th Cir. 1984). Defendant has agreed not to object

to any request by Plaintiff for an award of attorney fees up to $150,000,

or one-third of the settlement for their attorneys’ fees, as well as Plaintiffs’

reasonable costs which to date total $12,500. Exhibit 1 (Joint Stipulation)

¶11.6

        “The purpose of the FLSA attorney’s fees provision is to ‘insure

effective access to the judicial process by providing attorney fees for

prevailing plaintiffs with wage and hour grievances.’” Farmer v. Ottawa

Cnty., 211 F.3d 1268, 2000 WL 420698, at *7 (6th Cir. 2000) (citing United

Slate, 732 F.2d at 502); see Wilson v. D & N Masonry, Inc., No. 12 Civ. 922,



6
 Defendant does not object to the fee request by counsel for Plaintiffs.
Consistent with the Stipulation and Settlement, Defendant states that it does
not object to a reasonable fee and costs award that does not exceed the sum of
$150,000 in fees and $12,500 in costs.

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2014 WL 1789136, at *1 (S.D. Ohio May 5, 2014) (“The purpose of the

FLSA attorney fees provision” is “to insure effective access to the judicial

process by providing attorney fees for prevailing plaintiffs with wage and

hour grievances.”) (citing district court citing Fegley v. Higgins, 19 F.3d

1126, 1134 (6th Cir. 1994)) (internal quotes omitted); Fisher v. Stolaruk

Corp., 648 F. Supp. 486, 487 (E.D. Mich. 1986) (“The purpose of allowing

an award of attorney’s fees under FLSA cases is to encourage employees

to vindicate what Congress considers an important right to receive wages

designed to ensure a minimum standard of living.”).7


7 See also Bozak, 2014 WL 3778211, at *6 (S.D.N.Y. Jan. 7, 2010) (“Fee
awards in wage and hour cases are meant to encourage members of the
bar to provide legal services to those whose wage claims might otherwise
be too small to justify the retention of able, legal counsel.”) (internal
quotes and citation omitted). Adequate compensation for attorneys who
protect wage and hour rights furthers the remedial purposes of the FLSA.
See Fegley, 19 F.3d at 1134 (“The purpose of the FLSA attorney fees
provision is “to insure effective access to the judicial process by providing
attorney fees for prevailing plaintiffs with wage and hour grievances.”)
(citation and internal quotation marks omitted); Braunstein v. E.
Photographic Labs., Inc., 600 F.2d 335, 336 (2d Cir. 1978), cert. denied, 441
U.S. 944 (1979) (observing that “broad remedial purpose” of FLSA should
be given “liberal construction”); Ramey v. Cincinnati Enquirer, Inc., 508
F.2d 1188, 1196 (6th Cir. 1974) (discussing “society’s stake in rewarding
attorneys who produce . . . benefits in order to maintain an incentive to
others”); Bozak, 2014 WL 3778211, at *6 (collecting cases); Vazquez v.
Ranieri Cheese Corp., No. 07 Civ. 464, 2011 WL 554695, at *4 (E.D.N.Y. Feb.
7, 2011) (“[T]he fee provisions contained in the FLSA . . . [was] designed
in part to secure legal representation for plaintiffs whose wage and hour
grievances were too small, in terms of expected recovery, to create a

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      Where relatively small claims can only be prosecuted through

aggregate litigation, and the law relies on prosecution by “private

attorneys general,” attorneys who fill that role must be adequately

compensated for their efforts. Turner v. Perry Twp., Ohio, No. 03 Civ. 455,

2005 WL 6573783, at *3 (S.D. Ohio Dec. 30, 2005) (“[T]he Sixth Circuit has

emphasized the private attorney general theory of fee recovery: the

importance of bringing [FLSA] cases, even if only nominal damages, are

recovered to vindicate employee rights and Congressional policy”); see

also Johnson v. Brennan, No. 10 Civ. 4712, 2011 WL 4357376, at *13

(S.D.N.Y. Sept. 16,2011); deMunecas v. Bold Food, LLC, No. 09 Civ. 440,

2010 WL 3322580, at *8 (S.D.N.Y.Aug. 23, 2010); Sand v. Greenberg, No. 08

Civ. 7840, 2010 WL 69359, at *3 (S.D.N.Y. Jan. 7,2010) (statutory

attorneys’ fees are meant to “encourage members of the bar to provide

legal services to those whose wage claims might otherwise be too small to

justify the retention of able, legal counsel”).

      In collective action wage and hour lawsuits, public policy favors a

common fund attorneys’ fee award, which Courts generally determine

based upon the percentage-of-fund method. See Blum v. Stenson, 465 U.S.



financial incentive for qualified counsel to take such cases under
conventional fee arrangements.”)(citation omitted).

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886, 900 n.16 (1984) (stating that in common fund cases “a reasonable fee

is based on a percentage of the fund bestowed on the Collective”);

Rawlings v. Prudential-Bach Props., Inc., 9 F.3d 513, 515 (6th Cir. 1993)

(finding clear “trend towards adoption of a percentage of the fund method

in [common fund] cases”); In re Packaged Ice Antitrust Litig., 2011 WL

6209188, at *17 (stating Sixth Circuit has recognized numerous

advantages to percentage of fund method); Bessey v. Packerland Plainwell,

Inc., No. 06 Civ. 95, 2007 WL 3173972, at *4 (W.D. Mich. Oct. 26, 2007)

(“The fact that the damages which could have been claimed by each

Collective member were relatively modest provides a strong reason for

adopting the percentage of recovery method, for it rewards counsel for

taking on a case which might not otherwise be economically feasible.”); In

re Cardizem CD Antitrust Litig., 218 F.R.D. at 531-32 (finding application

of “percentage-of-the-[common-]fund approach appropriate); Aros, 2012

WL 3060470, at *5; Reyes v. Altamarea Grp., LLC, No. 10 Civ. 6451, 2011

WL 4599822, at *7 (S.D.N.Y. Aug. 16, 2011); see also Moulton v. U.S. Steel

Corp., 581 F.3d 344, 352 (6th Cir. 2009) (“[I]n common-fund cases, we

require only that awards of attorney’s fees be reasonable under the

circumstances.”) (citation and internal quotes omitted).

      A percentage of the fund approach fosters judicial economy by


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eliminating a detailed and time-consuming lodestar analysis. Rawlings, 9

F.3d at 516-17. This is an important feature because “the lodestar method

is too cumbersome and time-consuming for the resources of the Court.” In

re Cardizem CD, 218 F.R.D. at 532 (citation and internal quotes omitted).

The lodestar approach burdens a court with the task of reviewing

extensive time records reflecting many hours of attorney time. Rawlings,

9 F.3d at 516-17. In contrast, the percentage of the fund approach is “easy

to calculate” and it “establishes reasonable expectations on the part of

plaintiffs’ attorneys as to their expected recovery.” Id. at 516. Crucially,

“the percentage of the fund method more accurately reflects the results

achieved.” Id.

      In applying the common fund method, courts award attorneys’ fees

as a percentage of the entire maximum gross settlement fund—and not as

a percentage of the amount claimed—even where amounts to be paid to

settlement Class Members who do not file claims revert to Defendant. See

Boeing Co. v. Van Gemert, 444 U.S. 472, 480-81 (1980) (stating that this

approach “rectifies inequity by requiring every member of the Collective

to share attorney’s fees to the same extent that he can share the

recovery”); Moulton, 581 F.3d at 352 (rejecting “objectors focus on the

amount claimed rather than the amount allocated”); Masters v. Wilhelmina


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Model Agency, Inc., 473 F.3d 423, 436-47 (2d Cir. 2007) (holding that

because the entire fund was created through the efforts of counsel, that

the allocation of fees by percentage should be awarded based on the total

funds made available, whether claimed or not); Waters v. Int’l Precious

Metals Corp., 190 F.3d 1291, 1295-98 (11th Cir. 1999) (“In Boeing Co. v.

Van Gemert, the Supreme Court settled this question by ruling that

Collective counsel are entitled to a reasonable fee based on the funds

potentially available to be claimed, regardless of the amount actually

claimed.”) (quoting Herbert B. Newberg & Alba Conte, Newberg on

Collective Actions § 14.03 (3d ed. 1992)); Williams v. MGM-Pathe

Commc’ns. Co., 129 F.3d 1026, 1027 (9th Cir. 1997) (reversing district

court’s award of 33 percent of the claimed fund and awarding attorneys’

fees of 33 percent of funds made available).

          1.      An Award of One-Third of the Fund Is Reasonable and
                  Should Be Granted

      Plaintiffs request an award of $150,000, or one-third of the

settlement common fund, as attorneys’ fees. The central requirement for

an award of fees is that it be reasonable. See Reed v. Rhodes, 179 F.3d 453,

471 (6th Cir. 2008); Rawlings, 9 F.3d at 516 (“In this circuit, we require

only that awards of attorney’s fees by federal courts in common fund cases



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be reasonable under the circumstances.”); Dillworth v. Case Farms

Processing, Inc., No. 08 Civ. 1694, 2010 WL 776933, at *7 (N.D. Ohio Mar.

8, 2010) (using reasonableness standard in FLSA context).

      The work that Plaintiffs’ Counsel has performed in litigating and

settling this case demonstrates their commitment to the FLSA collective

and to representing the collective’s interests, and establishes the

reasonableness of their fees. Plaintiffs’ Counsel has committed substantial

resources to prosecuting this case. The work that Plaintiffs’ Counsel has

performed including investigating claims, reviewing documents, drafting

the complaint, preparing for and defending the Named and Opt-In

Plaintiffs’ depositions, preparing for and attending mediation, and

negotiating the settlement terms and reducing them to a formal

settlement agreement, was significant and contributed to the substantial

recovery obtained on behalf of the collective. See Capsolas v. Pasta Res.

Inc., No. 10 Civ. 5595, 2012 WL 4760910, at *7 (S.D.N.Y. Oct. 5, 2012),

(approving requested fee where “[t]he work that Collective Counsel . . .

performed in litigating and settling th[e] case demonstrate[d] their

commitment to the Collective and to representing the Collective’s

interests”).

      Since the filing of the original complaint in August 1, 2014, Plaintiffs’


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Counsel have spent 830 attorney, paralegal, and support staff hours

prosecuting this case. Exhibit 2 ¶ 45.      Multiplied by each attorney’s,

paralegal’s, and staff member’s hourly rate, this results in a total lodestar

amount of approximately $315,000. Exhibit 2 ¶ 45-46; Exhibit 6

(Summary of PMPR Time). Plaintiffs’ Counsel’s request for $150,000

represents an average fee of $166.67 per hour and is reasonable fee for

the community.

      Here, Plaintiffs’ Counsel has secured a substantial payment of up to

$450,000 Courts have consistently recognized that the result achieved is

a major factor to be considered in making a fee award. Hensley v.

Eckerhart, 461 U.S. 424, 436 (1983) (noting that the “most critical factor

is the degree of success obtained”); Rawlings, 9 F.3d at 516 (stating that a

percentage of the fund will compensate counsel for the result achieved);

Smillie v. Park Chem. Co., 710 F.2d 271, 275 (6th Cir. 1983).

      Plaintiffs’ Counsel’s efforts to date have been without compensation,

and their entitlement to be paid has been wholly contingent upon

achieving a good result. Bonanni Decl. ¶ 48; see also Dillworth, 2010 WL

776933, at *8 (citing as justification for one-third recovery from common

fund “[t]he contingent nature of the fee agreement,” which “meant that

counsel bore the risk of receiving no fee in the event that a less than


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favorable result was achieved”). The requested award is consistent with

the norms of Collective and collective litigation in this circuit. See, e.g.,

Dillworth, 2010 WL 776933, at *8 (finding attorneys’ fees award of one-

third of common fund was “reasonable and has been approved in similar

FLSA collective actions in [the Northern District of Ohio]”) (collecting

cases); Bessey, 2007 WL 3173972, at *4 (approving attorneys’ fees of

approximately 33% of the common fund in FLSA case and noting that

“[e]mpirical studies show that, regardless whether the percentage method

or the lodestar method is used, fee awards in Collective actions average

around one-third of the recovery”) (citation omitted). 8

      The fee requested by Plaintiffs’ Counsel also is reasonable because

they will continue to perform work on behalf of the collective in

implementing the settlement, but will not make a supplemental fee

application. See Bozak, 2014 WL 3778211, at *8.            Plaintiffs’ Counsel

anticipate that they will be required to spend substantial additional time


8See also In re Se. Milk Antitrust Litig., No. 08 MD 1000, 2013 WL 2155387,
at *3 (E.D. Tenn. May 17, 2013) (finding reasonable award of one-third of
settlement fund; granting $52,866,667, in addition to previous award of
$48,333,333); Dallas, 2013 WL 2197624, at *12 (preliminarily approving
attorneys’ fees of one-third of the settlement amount); In re Packaged Ice,
2011 WL 6209188, at *19 (noting that an award of “close to 30% appears
to be a fairly well-accepted ratio in cases of this type and generally in
complex Collective actions”).

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administering the settlement in the future, including answering questions

from Eligible Settlement Class Members about the case and working with

the Settlement Administrator. Exhibit 2 ¶ 51-52. Plaintiffs’ Counsel have

a continuing obligation to represent the collective during the settlement

approval process and the disbursement phase.

      Plaintiffs’ Counsel also have incurred $12,500 in out-of-pocket costs

prosecuting this case, including costs for electronic research, court fees,

court reporters, deposition transcripts, postage and courier fees, working

meals, photocopies, telephone calls, travel, and Plaintiffs’ portion of the

mediator’s fees. Exhibit 2 ¶ 49; Exhibit 2(b). (Summary of PMPR out-of-

pocket expenses); see Griffin, 2013 WL 6511860, at *9 (approving

payment of costs when “documented by firm and by category of expense .

. . and appear reasonable”); In re Cardizem CD Antitrust Litig., 218 F.R.D.

at 535 (approving costs as “type routinely billed by attorneys to paying

clients in similar cases”). Accordingly, Plaintiffs’ Counsel’s request for

attorneys’ fees of $150,000 and reimbursement of actual costs of $12,500

is reasonable and should be approved.

                                CONCLUSION

       For the reasons set forth above, Plaintiffs respectfully request that the

 Court issue an order: (1) approving the $450,000 settlement set forth in the

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 Joint Stipulation of Settlement and R Release; (2) approving the proposed

 Notice of Settlement and Claim and Consent Form and direct their distribution;

 (3) approving service awards to Class Representatives, Class Deponents and

 Class Participants for their service to the collective; (4) approving Plaintiffs’

 request for one-third of the settlement fund for attorneys’ fees and an

 additional reimbursement of costs and litigation expenses; and (5)

 incorporating the terms of the Joint Stipulation of Settlement and Release.

 By: /s/ Megan A. Bonanni P52079             By: Elayna J. Youchah w/consent
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 Attorneys for Plaintiffs                    Attorneys for Defendant

 Dated: April 19, 2016

                             CERTIFICATE OF SERVICE
            The undersigned certifies that the foregoing
            instrument was filed with the U.S. District Court
            through the ECF filing system and that all parties to the
            above cause was served via the ECF filing system on
            ______________________________.
            April 19, 2016 .
                   Signature: _/s/ Regina Bell_____
                                 117 W. Fourth Street, Suite 200
                                 Royal Oak, MI 48067
                                 (248) 398-9800
                                 rbell@pittlawpc.com


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